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                       UNITED STATES BANKRUPTCY COURT
                                   FOR THE
                        WESTERN DISTRICT OF KENTUCKY

IN RE:                        )
                              )
CLIFFORD R. GEARY, JR.        )                          CASE NO. 18-33749-jal
                              )
                    Debtor    )
______________________________)

                             ORDER TERMINATING STAY

       This matter coming before the Court on Motion of First State

Bank   for    relief    from       stay,   and     the      Court      being   otherwise

sufficiently advised;

       IT IS HEREBY ORDERED that the automatic stay which went into

effect   on   the    date     of    the    filing      of    Debtor’s      Petition    in

Bankruptcy, which was December 10, 2018, in regard to a 2009

Chevrolet Silverado, VIN 3gcek3309g172982, be and it is hereby

terminated and the secured creditor, First State Bank, may obtain

possession of the herein described property, with or without

state court assistance, and sell or otherwise dispose of same in

a commercially reasonable manner.

       IT IS FURTHER ORDERED that the fourteen (14) day stay period

pursuant to Rule 4001(a)(3) shall be inapplicable.




                                                 Dated: May 22, 2019
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TENDERED BY:
s/s_Joseph A. Moloney_____
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